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  5
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                                                                         Central District of California
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 10   Telephone: (212) 768-6700; Facsimile: (212) 768-6800
 11   Attorneys for the Official Committee of Equity Holders
 12

 13                                UNITED STATES BANKRUPTCY COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
 14                                     SAN FERNANDO VALLEY

 15
      In re:                                                   Lead Case No.: 1:17-bk-12408-MB
 16                                                            Jointly administered with:
      IRONCLAD PERFORMANCE WEAR                                1:17-bk-12409-MB
 17   CORPORATION, a California corporation,
                                                               CHAPTER 11 Cases
 18                   Debtor and Debtor in Possession
                                                               ORDER APPROVING STIPULATION
 19                                                            PURSUANT TO BANKRUPTCY RULE
      In re:                                                   2004, DIRECTING EXAMINATION
 20                                                            OF,   AND    PRODUCTION   OF
      IRONCLAD PERFORMANCE WEAR                                DOCUMENTS     BY,    RADIANS
 21   CORPORATION, a Nevada corporation,                       WAREHAM HOLDING, INC. AND
                                                               VARIOUS AFFILIATES
 22                   Debtor and Debtor in Possession.
                                                               [No hearing required per Local Bankruptcy
 23                                                                        Rule 2004-1(d)]

 24   ☒ Affects both Debtors

 25   ☐ Affects Ironclad Performance Wear
      Corporation, a California corporation only
 26
      ☐ Affects Ironclad Performance Wear
 27   Corporation, a Nevada corporation only
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  1               Upon consideration of the Stipulation Pursuant To Bankruptcy Rule 2004, Directing

  2   Examination Of, And Production Of Documents By,            Radians Wareham Holding, Inc. And

  3   Various Affiliates (the “Stipulation” and Docket No. 186), entered into between the Official

  4   Committee of Equity Holders (the “Equity Committee”) and Radians Wareham Holding, Inc.

  5   (“Radians”), and other good cause appearing,

  6               IT IS HEREBY ORDERED THAT:

  7               1.    The Stipulation is APPROVED;

  8               2.    Pursuant to Rule 2004 of the Federal Rules of Bankruptcy Procedure and Local

  9   Bankruptcy Rule 2004-1, the Equity Committee, by its counsel Dentons US LLP, is hereby

 10   authorized: (A) to issue subpoenas to Radians (as defined above), all c/o E. Franklin Childress, Jr.

 11   Esq., Baker, Donelson, Bearman, Caldwell & Berkowitz, PC, 165 Madison Avenue, Suite 2000,

 12   Memphis, Tennessee 38103 (the “Baker Donelson Memphis Office,” compelling production of

 13   the documents governed by the definitions and instructions set forth in Exhibit A hereto, and for

 14   the categories of documents set forth in Exhibit B hereto, at the offices of Dentons US LLP, 601

 15   South Figueroa Street, Suite 2500, Los Angeles, California 90017-5703 (“Dentons Office”), with

 16   production to be completed on or before nine (9) days from the filing of the Stipulation; and (B)

 17   to issue a subpoena to Mike Tutor, for Mr. Tutor’s oral examination on November 20, 2017 at

 18   the Baker Donelson Memphis Office, or on such date and at such location as counsel otherwise

 19   agree;

 20               3.    Nothing in this Order shall prejudice the Equity Committee’s rights to compel
 21   Radians’ compliance with the terms of this Order, to seek additional discovery or examination of

 22   Radians upon cause shown; and

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  1               4.   Nothing in this Order shall prejudice Radians’ rights to object to document

  2   requests or questions presented during examination by the Equity Committee, or any other rights,

  3   defenses, and objections asserted by Radians in this matter.

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      Date: November 8, 2017
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  1                                             EXHIBIT A
  2
                                               DEFINITIONS
  3
                  These document requests shall be governed by the following definitions:
  4
                  1.     As used herein, the terms “DOCUMENT” or “DOCUMENTS” shall have
  5
      the broadest possible meaning under Rule 34(a) of the Federal Rules of Civil Procedure,
  6
      and shall include, without limitation, all media on which information is recorded or
  7
      stored, including, without limitation, any written, printed, typed, photostatic,
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      photographed, magnetic or optical local storage media for use with computers, recorded
  9
      or otherwise reproduced communication or representation, whether comprised of letters,
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      words, numbers, pictures, sounds or symbols or any combination thereof, including but
 11
      not limited to all writings, drawings, graphs, charts, photographs, audio and visual
 12
      recordings, microfilm, data compilations, computer databases, underlying documents
 13
      supporting computer entries, computer diskettes, CD-ROM, electronic mail or “e-mail,”
 14
      file menus, directories, distribution lists, acknowledgments of receipt, correspondence,
 15
      memoranda, notes, records, letters, envelopes, telegrams, messages, studies, analyses,
 16
      agreements, contracts, projects, estimates, working papers, summaries, statistical
 17
      statements, financial statements, work papers, accounts, analytical records, reports and/or
 18
      summaries of investigations, opinions or reports of consultants, opinions of reports of
 19
      accountants, other reports, trade letters, press releases, comparisons, books, diaries,
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      calendars, articles, magazines, newspapers, booklets, brochures, pamphlets, circulars,
 21
      bulletins, notices, forecasts, drawings, diagrams, instructions, minutes of meetings or of
 22
      other communications of any type, including telephone conversations, inter- and intra-
 23
      office communications of any type, questionnaires, surveys, films, tapes, computer tapes,
 24
      back up computer tapes, disks, data cells, drums, printouts, and other data compilations
 25
      from which information can be obtained (translated, if necessary, by the responding
 26
      entity into usable form), and any preliminary versions, drafts, or revisions of any of the
 27
      foregoing, and other writings or documents of whatever description or kind, whether
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  1   produced or authorized by you or anyone else, including non-identical copies of any of
  2   the foregoing now in your possession, custody, or control.
  3               2.   The term “PERSON” means any natural person, corporation, partnership,
  4
      association, governmental body or agency, proprietorship or other entity.
  5
                  3.   The terms “COMMUNICATION” or “COMMUNICATIONS” shall mean
  6
      and refer to all written, electronic or oral exchanges between PERSONS, including in
  7
      person, telephonic, email, instant messaging, correspondence, memoranda, and other
  8
      DOCUMENTS.
  9
                  4.   The term “DEBTORS” means IRONCLAD PERFORMANCE WEAR
 10
      CORPORATION,           A     CALIFORNIA           CORPORATION           and     IRONCLAD
 11
      PERFORMANCE WEAR CORPORATION, A NEVADA CORPORATION, including
 12

 13   their respective past and present parents, divisions, subsidiaries, affiliates, joint ventures

 14   and associated organizations, and their respective officers, directors, agents, servants,

 15   employees, and all other PERSONS acting or purporting to act on their behalf.
 16
                  5.   The term “RADIANS” means RADIANS, INC., RADIANS WAREHAM
 17

 18   HOLDING, INC. and SAFETY SUPPLY CORPORATION, including their respective past

 19   and present parents, divisions, subsidiaries, affiliates, joint ventures and associated

 20   organizations, and their respective officers, directors, agents, servants, employees, and all
 21
      other PERSONS acting or purporting to act on their behalf.
 22

 23               6.   The term “CAPITAL ONE” means “CAPITAL ONE, N.A., including its

 24   past and present parents, divisions, subsidiaries, affiliates, joint ventures and associated
 25   organizations, and their respective officers, directors, agents, servants, employees, and all
 26
      other PERSONS acting or purporting to act on their behalf.
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  1
                  7.    The term “LOAN” means the subject and subjects of the REVOLVING
  2
       LOAN AND SECURITY AGREEMENT, made as of November 28, 2014 by and among
  3
       the DEBTORS and CAPITAL ONE, as it may have been modified, amended, restated or
  4
       assigned.
  5

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                  8.    The term “CRAIG-HALLUM” means CRAIG-HALLUM CAPITAL
  7
       GROUP LLC, including its past and present parents, divisions, subsidiaries, affiliates,
  8
       joint ventures and associated organizations, and their respective officers, directors, agents,
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 10    servants, employees, and all other PERSONS acting or purporting to act on their behalf.

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                  9.    The term “CORDES' means the individual JEFFREY CORDES, THE
 12
       DEBTORS' former CEO, including any PERSON or entity acting on his behalf.
 13

 14               10.   The term “AISENBERG” means the individual WILLIAM AISENBERG,
 15    the DEBTORS' former chief financial officer and Secretary, including any PERSON or
 16
       entity acting on his behalf.
 17

 18               11.   The term “VALUATION” means any estimate or appraisal of the

 19    DEBTORS or any part of the DEBTORS in order to estimate the monetary worth of

 20    the DEBTORS or any part of the DEBTORS, including without limitation: (a) any

 21    estimation, appraisal or assessment of the monetary worth of any component, division

 22    or unit of the DEBTORS; (b) any estimation, appraisal or assessment of the monetary

 23    worth of the DEBTORS to determine or estimate the amount of monetary proceeds

 24    that would be generated by a liquidation of the DEBTORS or of all or a substantial

 25    part of the DEBTORS' assets; (c) any public company analysis (valuing a company by

 26    comparing it with publicly traded companies in reasonably similar lines of business);

 27    (d) any discounted cash flow analysis (analyzing the intrinsic value of a company as

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  1    the present value of expected future cash flows to be generated by that company);
  2    and/or ( e ) precedent transaction analysis (valuing a company based upon the
  3    purchase price paid to acquire comparable businesses).
  4               12.   The term “YOU” or “YOUR” means Responding Party, YOUR agents,
  5    representatives, accountants, attorneys and/or any other PERSON acting on YOUR
  6    behalf.
  7               13.   The terms “RELATING TO,” “RELATE TO” and “RELATE” mean
  8    evidencing, constituting, memorializing, referring to, embodying, reflecting, or
  9    pertaining to, in any manner, in whole or in part, the subject matter referred to in the
 10    request.
 11               14.   The terms “include” and “including” are non-exhaustive and shall be
 12    interpreted as “including, but not limited to.”
 13
                  15.   “Each” shall mean “each and every.”
 14
                  16.   “Any” includes the word “all,” and vice versa.
 15
                  17.   “Or” shall mean “and/or.”
 16
                  18.   The use of the singular shall be deemed to include the plural.
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             19.        The use of one gender shall include all others as are appropriate in the
 18    context.

 19               20.   The use of the verb in any tense shall be construed as the use of the verb

 20    in all other tenses.

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  1                                          INSTRUCTIONS
  2               A.   In producing DOCUMENTS and things, YOU are requested to
  3   furnish all DOCUMENTS or things in YOUR possession, custody, or control, or known
  4   or available to YOU, regardless of whether such DOCUMENTS or things are possessed
  5   directly by YOU or YOUR attorneys, agents, employees, representatives, or investigators,
  6   or by any other person or persons acting on YOUR behalf, or their agents, employees,
  7   representatives, or investigators.
  8               B.   In producing DOCUMENTS for inspection, YOU are requested to
  9   produce the original of each DOCUMENT requested together with all non-identical
 10   copies and drafts of that DOCUMENT. Any comment, notation, or marking appearing on
 11   any DOCUMENT, and not a part of the original, and any draft, preliminary form, or
 12   superseded version of any DOCUMENTS is also to be considered a separate
 13   DOCUMENT.
 14               C.   All DOCUMENTS that are maintained in electronic form should be
 15   produced in electronic form even if a paper copy of the same DOCUMENT was produced.
 16               D.   All DOCUMENTS should be produced in the same order as they are kept
 17   or maintained by YOU.
 18               E.   All DOCUMENTS should be produced in the file, folder, envelope, or
 19   other container in which the DOCUMENTS are kept or maintained. If the container
 20   cannot be produced, please produce copies of all labels or other identifying markings.
 21
                  F.   DOCUMENTS attached to each other should not be separated.
 22               G.   If any requested DOCUMENT or thing cannot be produced in full, please
 23   produce it to the extent possible, indicating what is being withheld and the reason it is
 24   being withheld.
 25               H.   If a responsive DOCUMENT once existed but has been lost, destroyed, or
 26   otherwise is no longer in YOUR possession, identify the DOCUMENT and state the
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  1   details concerning the loss or destruction of such DOCUMENT, including the name and
  2   address of the present custodian of any such DOCUMENT if known to YOU.
  3               I.   Please produce DOCUMENTS and things responsive to these requests as
  4   they are kept in the usual course of business or, alternatively, organized and labeled to
  5   correspond to each request to which the DOCUMENTS or things are responsive.
  6               J.   In the event any DOCUMENT is withheld on a claim of attorney-client
  7   privilege, work product, or other similar privilege, please provide the following
  8   information: (1) the date the DOCUMENT was prepared or the date it bears; (2) the author
  9   of the DOCUMENT; (3) the addressee(s) and recipients of the DOCUMENT; (4) the title
 10   and subject matter of the DOCUMENT; (5) the source of the DOCUMENT; and (6) the
 11   basis for withholding the DOCUMENT.
 12               K.   The relevant time period for DOCUMENTS and COMMUNICATIONS
 13   requested under this Motion is January 1, 2017 to the present.
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  1                                            EXHIBIT B
  2            THE DEFINITIONS AND INSTRUCTIONS SET FORTH IN EXHIBIT A
                     ARE APPLICABLE TO THIS DOCUMENT DEMAND
  3

  4                             DOCUMENTS TO BE PRODUCED:
  5                 Propounding Party: The Official Committee of Equity Holders
          Responding Parties: Radians Wareham Holding, Inc., Radians, Inc. and Safety Supply
  6                                         Corporation
  7                1.     All DOCUMENTS RELATING TO the DEBTORS.

  8                2.     All DOCUMENTS RELATING TO the LOAN.

  9                3.     All COMMUNICATIONS with CAPITAL ONE.

 10                4.     All COMMUNICATIONS with CORDES.

 11                5.     All COMMUNICATIONS with AISENBERG.

 12                6.     All DOCUMENTS RELATING TO “potential strategic alternatives” as

 13        referenced in Item 8.01 of DEBTOR IRONCLAD NEVADA'S Form 8-K, filed on July 6,

 14        2017.

 15                7.     All DOCUMENTS RELATING TO the “potential accounting irregularities

 16        relating to certain sale transactions (the 'Subject Transactions')” as referenced in Item 4.02

 17        of DEBTOR IRONCLAD NEVADA'S Form 8-K, filed on July 6, 2017.

 18                8.     All VALUATIONS.

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